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                            UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    RALEIGH DIVISION

IN RE:                                        )
                                              )       Chapter 7
SUNCOAST EQUIPMENT, LLC                       )
                                              )       Case No.: 16-02247-5-DMW
                       Debtors.               )

 NOTICE OF SUBSTITUTION OF COUNSEL PURSUANT TO RULE 9010(b) and REQUEST
                      FOR NOTICES UNDER RULE 2002

To the Clerk of the United States Bankruptcy Court:

        PLEASE TAKE NOTICE, and pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy
Procedures, Matthew P. Ceradini of Ceradini Law, PLLC hereby gives notice of the substitution and
appearance of Matthew P. Ceradini as counsel for Paragon Commercial Bank, a Division of Towne
Bank (“Paragon Bank”), a creditor in the above-referenced case in the stead of Cindy G. Oliver of the
firm of Morris, Russell, Eagle & Worley, PLLC, and hereby enters his appearance on behalf of Paragon
Bank.

       REQUEST is further made by counsel that all Notices required to be given to parties in interest
pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure be mailed to counsel.

         Respectfully submitted, this 29th day of May, 2018,

                                                      CERADINI LAW, PLLC

                                                  By: /s/ Matthew P. Ceradini
                                                     Matthew P. Ceradini
                                                     NC Bar ID: 49521
                                                     9650 Strickland Road, Ste. 103-202
                                                     Raleigh, NC 27615
                                                     Phone: 919-866-2706
                                                     Fax: 919-825-1805
                                                     ceradinilaw@gmail.com
                                                     Attorney for Paragon Bank
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                                     CERTIFICATE OF SERVICE

The undersigned hereby certifies that he is, and all times hereinafter mentioned was, more than eighteen
(18) years of age, that on this date copies of the foregoing Notice was serve by electronic means through
the court’s CM/ECF service upon the Trustee, Bankruptcy Administrator, and other counsel of record
appearing on the docket, and upon the following parties by mailing, postage prepaid, first class mail,
addressed as followed:

Suncoast Equipment, LLC
Attn: Todd Hamilton/Registered Agent
P.O. Box 10621
Raleigh, NC 27605




       This 29th day of May, 2018,

                                                    CERADINI LAW, PLLC

                                                 By: /s/ Matthew P. Ceradini
                                                    Matthew P. Ceradini
                                                    NC Bar ID: 49521
                                                    9650 Strickland Road, Ste. 103-202
                                                    Raleigh, NC 27615
                                                    Phone: 919-866-2706
                                                    Fax: 919-825-1805
                                                    ceradinilaw@gmail.com
                                                    Attorney for Paragon Bank
